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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                         CASE NO. 1:24-cv-20257

  SUSAN SOLMAN,

            Plaintiff,

  v.

  BAPTIST HEALTH SOUTH FLORIDA, INC.;
  BAPTIST HEALTH MEDICAL GROUP, INC.; and
  DOES 1-10,

        Defendants.
  __________________________________________/

                   DEFENDANTS’     ANSWER       AND    AFFIRMATIVE
                   DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT

            Defendants, BAPTIST HEALTH SOUTH FLORIDA, INC. and BAPTIST HEALTH

   MEDICAL GROUP, INC. (collectively “Defendants”),1 file their Answer and Affirmative

   Defenses to the Amended Complaint filed by Plaintiff, SUSAN SOLMAN (“Plaintiff”), as

   follows:

            1.      Defendants are without knowledge sufficient to form a belief as to the truth of the

      allegations set forth in Paragraph 1 of the Amended Complaint and, therefore, deny the same.

            2.      Defendants deny the allegations set forth in Paragraph 2 of the Amended

      Complaint.

            3.      Defendants deny the allegations set forth in Paragraph 3 of the Amended

      Complaint, except admit that Plaintiff purports to proceed as alleged therein.



  1
           Defendants are not properly named in this action. Baptist Outpatient Services, Inc., an
  affiliate of Defendants, operates and manages the Miami Beach facility referenced in the Amended
  Complaint and is the only entity that can properly be identified as a defendant in this action.
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         4.      Defendants admit that Plaintiff visited the Miami Beach facility referenced in the

   Amended Complaint. Defendants deny the remaining allegations set forth in Paragraph 4 of the

   Amended Complaint.

         5.      Defendants deny the allegations set forth in Paragraph 5 of the Amended

   Complaint.

         6.      Defendants deny the allegations set forth in Paragraph 6 of the Amended

   Complaint.

         7.      Defendants deny the allegations set forth in Paragraph 7 of the Amended

   Complaint.

         8.      Defendants deny the allegations set forth in Paragraph 8 of the Amended

   Complaint.

         9.      The allegations set forth in Paragraph 9 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

         10.     The allegations set forth in Paragraph 10 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations. Defendants deny that Plaintiff is entitled to the relief she seeks as alleged

   in Paragraph 10 of the Amended Complaint, including sub-Paragraphs a through c thereto.

         11.     Defendants are without knowledge sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 11 of the Amended Complaint and, therefore, deny the same.

         12.     Defendants admit the allegations set forth in Paragraph 12 of the Amended

   Complaint, but deny that Baptist Health South Florida, Inc. is a proper party to this action.




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         13.     Defendants admit the allegations set forth in Paragraph 13 of the Amended

   Complaint, but deny that Baptist Health Medical Group, Inc. is a proper party to this action.

         14.     Defendants admit that Plaintiff has visited facilities in the Baptist Health South

   Florida medical network, including its facility located at 709 Alton Road, Miami Beach, Florida.

   Defendants deny the remaining allegations set forth in Paragraph 14 of the Amended Complaint.

         15.     The allegations set forth in Paragraph 15 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

         16.     Defendants are without knowledge sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 16 of the Amended Complaint and, therefore, deny the same.

         17.     Defendants are without knowledge sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 17 of the Amended Complaint and, therefore, deny the same.




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                                         FACTUAL BACKGROUND
                 Dr. Soman Has Been Denied Full and Equal Access to Defendants’ Facilities

          In response to the unnumbered statement preceding Paragraph 18 of the Amended

  Complaint, Defendants deny that Plaintiff was denied full and equal access to Defendants’

  facilities.

           18.      Defendants admit that Plaintiff has visited the facility located at 709 Alton Road,

   Miami Beach, Florida for medical services. Defendants deny the remaining allegations set forth

   in Paragraph 18 of the Amended Complaint.

           19.      Defendants are without knowledge sufficient to form a belief as to the truth of

   whether Plaintiff utilizes a wheelchair for mobility and, therefore, deny the same. Defendants

   aver that Plaintiff refused to leave the facility when she disagreed with the reasonable

   accommodation offered to her which resulted in the cancellation and delay of other patients’

   appointments that day. Defendants deny the remaining allegations set forth in Paragraph 19 of

   the Amended Complaint, including the bulleted sub-Paragraphs thereto.

           20.      Defendants deny the allegations set forth in Paragraph 20 of the Amended

   Complaint, including sub-Paragraphs a through d thereto.

           21.      Defendants deny the allegations set forth in Paragraph 21 of the Amended

   Complaint.

           22.      Defendants deny the allegations set forth in Paragraph 22 of the Amended

   Complaint.




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                                    JURISDICTION AND VENUE

             23.   The allegations set forth in Paragraph 23 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

             24.   The allegations set forth in Paragraph 24 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

             25.   The allegations set forth in Paragraph 25 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

                                   FIRST CAUSE OF ACTION
                               VIOLATION OF THE ADA, TITLE III
                                    [42 U.S.C. §§ 12101, et seq.]

             26.   Defendants restate each and every response set forth in the foregoing paragraphs of

   this Answer to the Amended Complaint with the same force and effect as if more fully set forth

   herein.

             27.   The allegations set forth in Paragraph 27 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

             28.   The allegations set forth in Paragraph 28 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

             29.   Defendants are without knowledge sufficient to form a belief as to the truth of

   whether Plaintiff has been substantially limited in the major life activity of walking and, therefore,

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   deny the same. The remaining allegations set forth in Paragraph 29 of the Amended Complaint

   contain legal conclusions to which no response is required. To the extent a response is required,

   Defendants deny such allegations.

          30.    The allegations set forth in Paragraph 30 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          31.    The allegations set forth in Paragraph 31 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          32.    The allegations set forth in Paragraph 32 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          33.    The allegations set forth in Paragraph 33 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          34.    Defendants deny the allegations set forth in Paragraph 34 of the Amended

   Complaint.

          35.    Defendants deny the allegations set forth in Paragraph 35 of the Amended

   Complaint.

          36.    Defendants deny the allegations set forth in Paragraph 36 of the Amended

   Complaint.




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                             SECOND CAUSE OF ACTION
                VIOLATION OF SECTION 504 OF THE REHABILITATION ACT

          37.     Defendants incorporate their responses to the allegations in Paragraphs 1 through

   25 of the Amended Complaint as if set forth herein.

          38.     The allegations set forth in Paragraph 38 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          39.     The allegations set forth in Paragraph 39 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          40.     The allegations set forth in Paragraph 40 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          41.     The allegations set forth in Paragraph 41 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          42.     The allegations set forth in Paragraph 42 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

          43.     The allegations set forth in Paragraph 43 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.




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           44.    The allegations set forth in Paragraph 44 of the Amended Complaint contain legal

   conclusions to which no response is required. To the extent a response is required, Defendants

   deny such allegations.

           45.    Defendants deny the allegations set forth in Paragraph 45 of the Amended

   Complaint.

           46.    Defendants deny the allegations set forth in Paragraph 46 of the Amended

   Complaint.

           47.    Defendants deny the allegations set forth in Paragraph 47 of the Amended

   Complaint.

           48.    Defendants deny the allegations set forth in Paragraph 48 of the Amended

   Complaint.

           49.    Defendants deny the allegations set forth in Paragraph 49 of the Amended

   Complaint.

           50.    Defendants deny the allegations set forth in Paragraph 50 of the Amended

   Complaint.

           51.    Defendants deny the allegations set forth in Paragraph 51 of the Amended

   Complaint.

                                        PRAYER FOR RELIEF

          In response to the unnumbered “Wherefore” clause following Paragraph 51 of the

  Amended Complaint, including sub-Paragraphs A through H thereto, Defendants deny that

  Plaintiff is entitled to judgment against it or any of the relief requested in this action.

                                          GENERAL DENIAL

          Defendants deny any allegation not specifically admitted herein.


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                            AFFIRMATIVE AND OTHER DEFENSES
                                         FIRST DEFENSE

         Plaintiff cannot state a claim pursuant to the Americans with Disabilities Act because

  Plaintiff cannot show she was either excluded from participation in or denied the benefits of

  Defendants’ services, programs, activities or was otherwise discriminated against by Defendants

  because of his disability by Defendants.

                                        SECOND DEFENSE

         Plaintiff’s claims are barred by the doctrines of waiver, estoppel, laches, and unclean hands.

                                         THIRD DEFENSE

         At all times relevant to this action, Defendant’s actions were in good faith and it had

  reasonable grounds for believing those actions were not in violation of any law.

                                        FOURTH DEFENSE

         Plaintiff’s demands are not readily achievable as that term is defined in Title III of the

  ADA, 42 U.S.C. § 12182(b)(2)(A)(iv).

                                         FIFTH DEFENSE

         Plaintiff’s demands are not readily achievable, not reasonable, not required, and/or not

  technically feasible under the ADA, and would create an undue hardship for Defendant, and may

  be prevented by architectural and other factors such as municipal building codes and/or ordinances.

                                         SIXTH DEFENSE

         There is no causal connection between Defendant’s action or inaction and any injury

  allegedly suffered by Plaintiff.




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                                          SEVENTH DEFENSE

           Plaintiff does not have a legitimate and/or bona fide intent to be a patron of the facilities in

   the Baptist Health network, including the Miami Beach location identified in the Amended

   Complaint other than for the purpose of pursuing litigation and, therefore, lacks standing to bring

   these claims.

                                           EIGHTH DEFENSE

           Plaintiff has not suffered and is not suffering irreparable harm and, as such, no injunctive

   or declaratory relief is warranted.

                                            NINTH DEFENSE

           Plaintiff has failed to specify or demonstrate actual harm allegedly suffered as a result of

   Defendants’ alleged violations of the ADA and Section 504 of the Rehabilitation Act; as such,

   Plaintiff lacks standing to pursue her claims.

                                            TENTH DEFENSE

           Plaintiff’s Amended Complaint and the causes of action alleged therein are barred because

   the alleged violations are de minimis and non-actionable, as they do not materially impair

   Plaintiff’s use of the physical property at issue for their intended purpose. Defendants asserts that

   de minimis violations of federal regulations are not actionable or enjoinable.

                                         ELEVENTH DEFENSE

           Plaintiff has failed to mitigate her damages and failed to meet conditions precedent to

   bringing this suit including, but not limited to, failing to provide Defendants with adequate notice

   of the alleged deficiencies and failing to give Defendants any reasonable opportunity to cure any

   alleged deficiencies prior to filing suit.




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                                          TWELTH DEFENSE

           Plaintiff’s claims are barred by the doctrine of equivalent facilitation, in that Defendants

   provided substantially equivalent or greater access to and usability of its facilities and services.

                                       THIRTIENTH DEFENSE

           Plaintiff may lack clean hands or possess an improper purpose in filing this action, thus

   barring equitable remedies. Plaintiff’s primary motive in filing this action may be the generation

   of attorneys’ fees and expert witness payments.

                                      FOURTEENTH DEFENSE

           Plaintiff is not entitled to recover attorneys’ fees under the ADA to the extent Defendants

   has or will take appropriate measures to remedy the alleged barriers to access. Indeed, the Miami

   Beach facility at issue in the Amended Complaint is equipped with a floor lift specifically designed

   for patient transfer.

                                        FIFTEENTH DEFENSE

           Plaintiff’s claims are barred by the doctrine of mootness to the extent that the barriers

   alleged by Plaintiff, if there were any, have already been remediated. Indeed, the Miami Beach

   facility at issue in the Amended Complaint is equipped with a floor lift specifically designed for

   patient transfer.

                                        SIXTEENTH DEFENSE

           Plaintiff’s Amended Complaint and the causes of action alleged therein are barred to the

   extent Plaintiff never made any request for reasonable modifications of policies, practices or

   procedures, or for the provision of auxiliary aids or services, as would be required to pursue claims

   for Defendants’ alleged failure to provide reasonable modifications or auxiliary aids or services.




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                                     SEVENTEENTH DEFENSE

          Plaintiff’s Amended Complaint and the causes of action alleged therein are barred to the

   extent the alleged violations of law are excused, exempted, or justified under the statutes upon

   which Plaintiff’s claims are based.

                                     EIGHTEENTH DEFENSE

          Any allegedly wrongful acts or omissions performed by Defendants or their respective

   agents, if any, do not subject Defendants to liability because Defendants were ready and willing to

   accommodate Plaintiff’s alleged disabilities by providing access via alternative methods, and in

   fact, did so by way of scheduling Plaintiff’s diagnostic testing at a nearby facility. Further, the

   Miami Beach facility at issue in the Amended Complaint is equipped with a floor lift specifically

   designed for patient transfer.

                                    NINETEENTH DEFENSE

          Plaintiff’s claim for compensatory damages is barred under Section 504 of the

   Rehabilitation Act because any denial of services to Plaintiff, if any, was not the result of

   intentional discrimination. Further, to the extent Plaintiff seeks damages relating to the difference

   in cost of medical treatment/testing received, Plaintiff was charged the same amount(s) she would

   have been charged had she received said treatment/testing at the subject facility.

                                    TWENTIETH DEFENSE

          Plaintiff’s claims under Section 504 of the Rehabilitation Act are barred to the extent that

   even if the subject facility could not accommodate Plaintiff’s diagnostic testing, Plaintiff was not

   denied access to the diagnostic testing program, and in fact, received identical testing at a partner

   facility of Defendants.




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                                   TWENTY-FIRST DEFENSE

           Plaintiff cannot state a claim pursuant to the Americans with Disabilities Act because

   current federal law does not require Defendants to implement the policies and procedures

   demanded by Plaintiff.

                                   TWENTY-SECOND DEFENSE

           To the extent any barriers to accessibility or services existed, Defendants provided legally

   sufficient alternative access and equivalent facilitation of said services.

                                      TWENTY-THIRD DEFENSE

           At the time Plaintiff visited the Baptist-affiliated facility in Miami Beach, Florida on

   December 23, 2022, Plaintiff refused to leave the examination room for an extended period of time

   which resulted in Defendants having to cancel or delay the medical appointments of other patients,

   resulting in a loss of revenue. To the extent Plaintiff is entitled to any damages in this action,

   Defendants are entitled to a set-off in the amount of the value of lost revenue and patient goodwill

   directly attributable to Plaintiff’s actions.

                                     TWENTY-FOURTH DEFENSE

           To the extent Plaintiff seeks relief relating to facilities of Defendants or Baptist Health

   outside of the subject facility she visited on December 23, 2022 as referenced in the Amended

   Complaint, Plaintiff lacks standing to seek such relief because she has not suffered a concrete

   injury at any such facilities and has no basis to seek relief relating to any such facilities.




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                                    RESERVATION OF RIGHTS

          Defendants reserve the right to raise additional affirmative defenses as discovery may

   reveal additional information.

          WHEREFORE, having fully answered the Amended Complaint and having raised

   affirmative defenses thereto, Defendants respectfully request that this Court: (i) enter judgment in

   their favor and against Plaintiff; (ii) award Defendants their attorneys’ fees and costs incurred in

   defending against this action; and (iii) grant such further relief as the Court deems just and proper.

   Dated: March 29, 2024
                                                    Respectfully submitted,
                                                     JACKSON LEWIS P.C.
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                                                     Miami, Florida 33131
                                                     Telephone: 305-577-7600

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                                                     Counsel for Defendants


                                    CERTIFICATE OF SERVICE

          I certify that on this 29th day of March 2024, a true and correct copy of the foregoing

   document was served on all counsel of record on the Service List below via transmission of Notices

   of Electronic Filing generated by CM/ECF.

                                                         s/ Scott S. Allen
                                                         Scott S. Allen, Esq.



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                                          SERVICE LIST

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       Counsel for Plaintiff2




   2
           Defendants note that Plaintiff’s counsel, Benjamin Sweet, Jonathan Miller, and Nye,
   Stirling, Hale, Miller & Sweet LLP, have not been admitted to practice before this Court, pro hac
   vice or otherwise.
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